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 6                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
 7

 8   SUSAN HOGAN,                  ) Case No. CV-08-1539-PHX-MHM
         Plaintiff,                )
 9
                                   )
10             vs.                 ) ORDER
                                   )
11
     EXPERIAN INFORMATION          )
12   SOLUTIONS & MASTER FINANCIAL, )
                                   )
13
                                   )
14       Defendant.
15
            Pursuant to a settlement reached between the parties,
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            IT IS HERE BY ORDERED that this case is dismissed with prejudice and with
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     each party to bear its own costs.
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                   Dated this 6th day of January, 2009.
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